                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                             No. 3:21-CV-209-FDW-DCK


 MATTHEW URBAN and VAN WARNER,

                        Plaintiffs,                      JOINT NOTICE OF SETTLEMENT
         -against-

 DELI MANAGEMENT, INC., d/b/a
 JASON’S DELI,

                        Defendant.


       Plaintiff Van Warner (“Plaintiff Warner”) and Defendant Deli Management, Inc., d/b/a

Jason’s Deli (“Defendant”) (together, the “Parties”), hereby give notice that the Parties have

reached an agreement to settle Plaintiff Warner’s claims. The Parties are currently finalizing the

settlement agreement, which they will submit to the Court for approval upon completion.

       Respectfully submitted this 15th day of March, 2022.

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                                                       Attorneys for Defendant
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                                CERTIFICATE OF SERVICE

       I certify that on March 15, 2022, I electronically filed the foregoing NOTICE OF

SETTLEMENT with the Clerk of Court using the CM/ECF system, which will notify the

following counsel of record via electronic mail:


                                       Phillip J. Gibbons
                                       Corey M. Stanton
                                         Seth R. Lesser
                                     Christopher M. Timmel


                                             /s/ Kevin D. Johnson
                                             Kevin D. Johnson

                                             Attorney for Defendant




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